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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez



Case No. 17-cr-00008-WJM__________________            Date _April 23, 2018_________

Case Title _U.S. v. Guy Jean-Pierre__________________________________

                              _________Plaintiff_______________ FINAL WITNESS LIST
                                   (Plaintiff / Defendant)

         WITNESS & DATE                      PROPOSED LENGTH OF TESTIMONY
                                                                               15
 Kat Fronapfel 04/23/18
                                            Direct:      Cross:       Total: min
                                                                               15
 Kristen Varel 04/23/18
                                            Direct:      Cross:       Total: min
                                                                               15
 Carlos Morales 04/23/18
                                            Direct:      Cross:       Total: min
                                                                               15
 Kate Funk 04/23/18
                                            Direct:      Cross:       Total: min
                                            Direct:      Cross:       Total:
                                            Direct:      Cross:       Total:
                                            Direct:      Cross:       Total:
                                            Direct:      Cross:       Total:
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